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               IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE DISTRICT OF DELAWARE

In re:                                  )     Chapter 11
                                        )
YELLOW CORPORATION, et al.,             )     Case No. 23-11069 (CTG)
                                        )     (Jointly Administered)
               Debtors.                 )
                                        )     Hearing Date: January 22, 2024, @ 2:00 p.m.
                                        )     Objection Deadline: December 27, 2023 @ 4:00 p.m.



                  MOTION OF LEONEL PONCE FOR RELIEF
                      FROM THE AUTOMATIC STAY

         Leonel Ponce (“Ponce” or “Movant”) by and through his undersigned

counsel, hereby files this Motion, pursuant to section 362(d) of the United States

Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”), Rule 4001 of the Federal

Rules of Bankruptcy Procedure and Local Rule 4001-1 of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

District of Delaware, for an entry of an order which relieves Ponce from the

automatic stay to allow a pending action, defined below as the Ponce Action, to

proceed against the Debtors and to collect any award against any available

insurance proceeds related to Movant’s pending personal injury action. In support

of the Motion, Movant respectfully states as follows:

                           JURISDICTION AND VENUE

         1.    This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§

157 and 1334. Venue of this Motion in this district is proper pursuant to 28 U.S.C.
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§§1408 and 1409. This Motion is a core proceeding pursuant to 28 U.S.C.

§157(b)(2)(G).

                                  BACKGROUND

     A. Ponce Action

     2. On February 20, 2023, Ponce filed a lawsuit against Darral Gene

Thomas, Yellow Transportation, Inc., YRC Worldwide Inc., and YRC Inc. (the

“Ponce Action”).1 The Ponce Action is venued in Harris County, Texas.

     3. Ponce filed an amended petition in the Ponce Action.

     4. The Ponce Action arose after Ponce was injured in a car accident on

January 2, 2022. The other vehicle involved in the accident was a company

vehicle driven by an agent, servant, or employee of the Debtors.

     B. Bankruptcy Action

     5. On August 6, 2023 and August 7, 2023 (the “Petition Date”), Debtor and its

affiliates commenced a voluntary case under chapter 11 of title 11 of the United

States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for

the District of Delaware (the “Bankruptcy Court”).

     6. On the Petition Date, the automatic stay imposed by section 362 of the

Bankruptcy Code came into effect and stayed certain actions against the Debtors.

     7. Upon information and belief, the Debtor possesses by insurance policies


1
    See Ex. 1 – The State Court Action Complaint.
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applicable to Movant’s personal injury claims.

                                 RELIEF REQUESTED

   8. Through this Motion, Movant seeks the entry of an order pursuant to

pursuant to Section 362(d) of the Bankruptcy Code and 4001 of the Federal Rules

of Bankruptcy Procedure, granting so that he may pursue his claims against the

Debtor to judgment and satisfy any award or other resolution he may obtain against

the Debtor from proceeds of any applicable insurance proceeds.



                      BASIS FOR RELIEF REQUESTED

   9. Ponce is entitled to relief from the stay under section 362(d)

of the Bankruptcy Code. It provides for relief from the injunction if a creditor can

show cause, or establish that the debtor has no equity in the property and that the

property is not necessary for an effective reorganization. See, e.g., Nazareth

National Bank v. Trina-Dee, Inc., 731 F.2d 170, 171 (3rd Cir. 1984). Therefore,

relief from stay is appropriate under section 362(d)(1) of the Bankruptcy Code.

Ponce is Entitled to Relief from the Stay Under Section 362(d) of the
Bankruptcy Code

   10. Ponce is entitled to relief from the stay under section

362(d)(1) of the Bankruptcy Code. Subsection (d)(1) of section 362 provides:

      (d) On request of a party in interest and after notice and a hearing, the
      court shall grant relief from the stay provided under subsection (a) of
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      this section, such as by terminating, annulling, modifying, or
      conditioning such stay...
      (1) for cause, including lack of adequate protection of an interest in
      property of such party in interest

      11.     The Bankruptcy Code does not define what constitutes “cause”.

Instead, cause is determined by the courts on a case-by-case basis. In re Rexene

Products Co., 141 B.F. 574, 576 (Bankr. D. Del. 1992) (“Rexene”) (citing In re

Fernstrom Storage and Van Co., 938 F.2d 731, 735 (7th Cir. 1991)). The Third

Circuit has said that courts should consider the “totality of the circumstances” to

determine whether cause exists for relief from the stay. Baldino v. Wilson (In re

Wilson), 116 F.3d 87, 90 (3d Cir. 1997).

      12.     Under the totality of the circumstances analysis, courts consider the

hardship or prejudice to the non-debtor when determining whether to lift the stay.

See Atlantic Marine, Inc. v. American Classic Voyages, Co., 298 B.R.222, 225 (D.

Del. 2003); Matter of Pursuit Athletic Footwear, Inc., 193 B.R. 713,718 (Bankt. D.

Del. 1996); In re Block Laundry Machine, Co., 37 B.R. 564,566 (Bankt. N.D. Ohio

1984) (“Courts have developed a balancing test, whereby the interest of the estate

are weighed against the hardships that will be incurred by the creditor-plaintiff”).

      13.     Here, “cause” exists to grant Ponce relief from stay. Granting such

relief to Ponce will not prejudice the Debtor given that Ponce can recover portions,

if not all of his relief, from insurance held by the Debtor.

      14.     If the requested relief were not granted, Ponce would be
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prejudiced. Ponce requires compensation to cover the out-of-pocket expenses, past

medical expenses, and future medical expenses as a result of his personal injuries.

      15.    Ponce believes that relief from the stay is appropriate given that all or

some of the compensation for his personal injuries can be paid to him through the

Debtors’ insurance coverage.

       WHEREFORE, for the forgoing reasons, Movant respectfully requests the

entry of an order, substantially in the form of the proposed order attached hereto,

lifting the stay imposed by section of the Bankruptcy Code to allow Movant to

continue the prosecution of the Ponce Action to final judgment and granting such

other and further relief as this Court deems just and proper.

Date: December 12, 2023          THE POWELL FIRM, LLC

                                  /s/ Jason C. Powell
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